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                 TERRY G. FRY                                                     EMAIL:
                 ATTORNEY / MEDIATOR                                               tgfry@terryfry.net

                                                                                  WEBSITE:
                                                                                   www.terryfry.net
EDUCATION AND PERSONAL

Lifelong resident of Harris County
University of Houston (B.A. 1975)
South Texas College of Law (J.D. 1981)
Spouse: Gina A. Lucero, Partner - Lucero/Wollam, LLC

EXPERIENCE

Licensed attorney in Texas since 1981
Represented litigants in trials and appeals of civil matters for over 20 years
Lead trial counsel in over fifty jury trials
Since 1997 has served as mediator, arbitrator and special master in more than 6000 matters
Consults in settlement negotiations in selected matters
Served as attorney ad litem for minors

MEMBER

State Bar of Texas since 1981
Houston Bar Association: ADR Section, Council Member 2004 to 2005
Former Associate Member - American Trial Lawyers Association
Texas Bar Foundation - Fellow
Houston Bar Foundation - Fellow
Texas Association of Mediators
Former Defense Research Institute Member
Association of Attorney Mediators
Texas Mediator Credentialing Association - TMCA Credentialed Distinguished
National Academy of Distinguished Neutrals - Texas Chapter
University of Houston Alumni Organization - Lifetime Member
Houston Athletics Foundation - Past President & Director
Dad’s Club - Annunciation Orthodox School
Former Advisory Board Member - Woodway Financial
Manager - Neartown Little League

PROFESSIONAL ACTIVITIES

Present - Terry G. Fry, P.C.
2000 to 2002 - Fry, Cox & Fass, L.L.P.
1999 - Terry G. Fry, P.C.
1998 to1999 - Of Counsel to Tucker, Hendryx, Taunton, Snyder & Slade, P.C.
1986 to1997 - Director/Shareholder - Tucker, Hendryx, Snyder & Slade, P.C.
1981 to1986 - Associate, Weitinger, Steelhammer & Tucker, P.C.
• Admitted to practice before U.S. Court of Appeals - Fifth Circuit
• U.S. District Court - Northern & Southern Districts of Texas
• A.A. White Dispute Resolution Institute Mediation Training
• First Court of Appeals ADR Training Seminar

OTHER

Speaker: State Bar of Texas - Practice Skills Course, Litigation

                                                                                  EXHIBIT A
Volunteer: Houston Bar Association - Peer Mediation Training Course
First Court of Appeals - Approved Mediator
Experience | Terry Fry                                                     Page 1 of 1
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 WE ARE MOVING - STARTING AUGUST 2018 - 2502 ALGERIAN WAY, HOUSTON, TEXAS 77098 - MAP




 Attorney/Mediator                                            Home          Experience           Calendar          Fee Information             Contact




 Experience

                                   Terry G. Fry has been a licensed attorney in Texas since 1981. In the first 20 years of his practice he was lead
                                   counsel in more than 50 jury trials in state and federal courts in Texas. Since 1997 he has served as the mediator or
                                   arbitrator in over 6,000 civil matters. He has served as a special master in the Texas court system. His experience
                                   includes maritime, business/commercial, injury/death, insurance, construction, employment, professional
                                   negligence, probate, and securities brokerage matters in state and federal courts. References provided upon request.


                                   CLICK HERE TO VIEW TERRY’S RESUME.




 Pages                                      Terry G. Fry
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   Experience

   Fee Information




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